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 3
                               UNITED STATES DISTRICT COURT
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                                      DISTRICT OF NEVADA
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 6
     UNITED STATES OF AMERICA,                   )
 7                                               )
                             Plaintiff,          )        2:06-CR-00291-PMP-LRL
 8                                               )
     v.                                          )
 9                                               )
     LONNIE LILLARD,                             )              ORDER
10                                               )
                             Defendant.          )
11                                               )

12             On February 9, 2007, the Honorable Lawrence R. Leavitt entered a Report and

13   Recommendation (#45) recommending the denial of Defendant’s proper person Motion to

14   Dismiss Indictment and Complaint as a Result of Failure to State Offense and Post-

15   Accusatory Delay (#38). No Objections to the Magistrate Judge's Report and

16   Recommendation were filed in accordance with LR IB 3-2 of the Rules of Practice of the

17   United States District Court for the District of Nevada.

18             The Court has conducted a de novo review of the record in this case in

19   accordance with 28 U.S.C. § 636(b)(1)(B) and (C) and LR IB 3-2 and determines that the

20   Report and Recommendation of Magistrate Judge Leavitt should be affirmed.

21             IT IS THEREFORE ORDERED that Magistrate Judge Leavitt's Report and

22   Recommendation (#45) is affirmed, and Defendants’ Motion to Dismiss (#38) is denied.

23   DATED: March 1, 2007

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                                                  PHILIP M. PRO
26                                                United States District Judge
